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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

ENERRA CORPORATION,                                               Civil Action No. 3:23-cv-00194-L

                                  Plaintiff,                      Honorable Sam A. Lindsay

        vs.                                                       JURY TRIAL DEMANDED

CONTI GROUP LLC, PLASTIKGAS LLC,
ROBERTO CONTI, JULIE CONTI, JORDAN
CONTI, ,

                                  Defendants.


CONTI GROUP, LLC,

                                  Counter-Plaintiff,

        vs.

ENERRA CORPORATION, SERGIO PEREZ,
MARK MILLS AND MICHAEL BROWN,

                                    Counter-Defendants.


                         JOINT STATUS REPORT REGARDING MEDIATION

        The Parties 1 submit the following Joint Status Report Regarding Mediation pursuant to the

Court’s Scheduling Order (Dkt. 33). Counsel for the Parties engaged in settlement-related

discussions on July 3, 2023, during which they conferred regarding a possible Mediation date

during the fourth quarter of 2023, proposed mediators, and the potential for early resolution of this

case. The Parties have not reached settlement, but they anticipate continued informal discussions

in an attempt to settle the case.




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  The term “Parties” includes: 1) Plaintiff Enerra Corporation (“Plaintiff”) and Defendants Conti Group, LLC,
PlastikGas, LLC, Roberto Conti, Julie, Conti, and Jordan Conti (collectively “Defendants”); and 2) Conti Group,
LLC as Counter-Plaintiff and Counter-Defendants Sergio Perez, Mark Mills, and Michael Brown.


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Dated: July 5, 2023                      Respectfully submitted,

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                                         Conti, Julie Conti, Jordan Conti, and (b)
                                         Counter-Plaintiff Conti Group, LLC




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